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     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
16
                     IN THE UNITED STATES DISTRICT COURT
17                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
18
     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
19   a Delaware corporation; and             )
     CERCACOR LABORATORIES, INC.,            ) NOTICE OF MASIMO’S CONSENT
20   a Delaware corporation                  ) TO NOVEMBER 5, 2024 BENCH
                                             ) TRIAL
21                Plaintiffs,                )
                                             )
22         v.                                )
                                             ) Hon. James V. Selna
23   APPLE INC., a California corporation    )
                                             )
24                Defendant.                 )
                                             )
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1          Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. hereby give
2    notice that they do not consent to trial by jury for the claims to be tried at the currently
3    bifurcated trial set to commence on November 5 and therefore intend to try those claims
4    to this Court. For the currently bifurcated claims to be tried starting November 5,
5    Plaintiffs seek no remedy at law, such as a monetary award based on actual damages
6    suffered. For the claims to be tried on November 5, Plaintiffs seek only equitable
7    remedies, such as injunctive relief, disgorgement, unjust enrichment, and any other
8    equitable relief as the Court may deem just. Accordingly, because Apple has no claims
9    of its own for the November 5 trial, no party has a right to trial by jury for any of the
10   claims to be tried at that trial. Plaintiffs, however, maintain their right to trial by jury
11   on their patent infringement claims, which are currently bifurcated for a separate trial.
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13                                              Respectfully submitted,
14                                              KNOBBE, MARTENS, OLSON & BEAR, LLP
15
16   Dated: August 22, 2024                     By: /s/ Joseph R. Re
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